29 F.3d 636
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Jose Merced PRIETO-ARAUZA, Defendant-Appellant.
    No. 94-50103.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 18, 1994.*Decided July 21, 1994.
    
      Before:  FARRIS, KOZINSKI, and NOONAN, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Jose Merced Prieto-Arauza appeals his 84-month sentence imposed following his conditional guilty plea to being found in the United States after having been deported subsequent to a conviction for an aggravated felony, in violation of 8 U.S.C. Sec. 1326(b)(2).  Prieto-Arauza contends that due process requires that his sentence not exceed two years because the Immigration and Naturalization Service (INS) incorrectly informed him when he was deported that the maximum prison term for illegal reentry was two years.  He also contends the district court erred by declining to depart downward from the applicable Guideline range of 77 to 96 months based on the INS's misrepresentation.  Both arguments are foreclosed by our decision in United States v. Ullyses-Salazar, No. 93-50144, slip op. 6543 (9th Cir.  June 20, 1994).  Accordingly, the district court's judgment is
    
    
      3
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    